         Case 1:17-cr-00044-DAD-BAM Document 34 Filed 09/12/17 Page 1 of 2
                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                     MEMORANDUM

Honorable Dale A. Drozd                      RE: Ramiro Catano
United States District Judge                     Docket Number: 0972 1:17CR00044-001
Fresno, California                               PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Ramiro Catano is requesting permission to travel to Playa del Carmen, Mexico. Ramiro Catano
is current with all supervision obligations, has satisfied his financial obligations and the
probation officer recommends approval be granted.

Conviction and Sentencing Date: On July 10, 2017, Ramiro Catano was sentenced for the
offense(s) of Title 18 U.SC. Section 371 – Conspiracy to Not File Forms 8300 (Class D Felony).

Sentence Imposed: 36 months Probation; $100 Special Assessment; $5,000 Fine; and DNA
Collection

Dates and Mode of Travel: December 25, 2017, through January 3, 2018; Volaris Airlines.

Purpose: Family Vacation

                                     Respectfully submitted

                                        /s/ Jose Figueroa

                                          Jose Figueroa
                                 United States Probation Officer

Dated:     September 11, 2017
           Bakersfield, California




REVIEWED BY:                  /s/ Lonnie E. Stockton
                            Lonnie E. Stockton
                            Supervising United States Probation Officer




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                                                                                                  REV. 03/2017
                                                                   TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
      Case 1:17-cr-00044-DAD-BAM Document 34 Filed 09/12/17 Page 2 of 2
RE:   Ramiro Catano
      Docket Number: 0972 1:17CR00044-001
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      ,



                          ORDER OF THE COURT

The Court orders:

      ☒ Approved ☐ Disapproved


IT IS SO ORDERED.

   Dated:   September 11, 2017
                                          UNITED STATES DISTRICT JUDGE




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                                                                                    REV. 03/2017
                                                     TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
